                                                                                                                                                          -1
              Case
AO 106 (Rev. 04/10)   2:19-mj-09269-RBM
                    Application for a Search Warrant     Document 1 Filed 04/22/19 PageID.1 Page 1 of 21

                                                                                                                                                    . I
                                     UNITED STATES DISTRICT CoURf
                                                                    for the                             I                                                      I
                                                   Southern District of California                      iI                                                      I
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                                                                                                                  '~-                                     . ,. I
             In the Matter of the Search of                            )                                I •             '_' .•-   :.         "'10
                                                                                                                                       . .• ••
                                                                                                                                                          ... , I
                                                                                                                                                            . l
         (Briefly describe the property to be searched                 )
          or identify the person by name and address)                  )           Case No.
 Facebook, 1601 Willow Road, Menlo Park, CA 94025;                     )
       re: Facebookuser#100032410606683                                )
                                                                       )                            19MJ9269
                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A, incorporated herein by reference.
located in the     --------
                            Northern              District of              California
                                                                -----------~
                                                                                                , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B, incorporated herein by reference


          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ~evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 ~property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                        Offense Description
        21 U.S.C. 841, 846                         Possession of a Controlled Substance with the Intent to Distribute; Conspiracy to
                                                   commit same

          The application is based on these facts:
        See attached Affidavit of Task Force Officer Jon Dellinger

           ~ Continued on the attached sheet.
           O Delayed notice of         days (give exact ending date if more than 30 days: _ _ _ _ _ )is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth n~ealtached sheet.
                                                                                   ~~
                                                                                               Applicant's signature

                                                                                              TFO Jon Dellinger, HSI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:
                ~       I

City and state: _E_l_C_e_n_tr_o-'-,_C_A_ _ _ _ _ _ __                       Hon. Ruth Bermudez Montenegro, U.S. Magistrate Judge
                                                                                                Printed name and title
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 1                                      AFFIDAVIT
 2         I, Jon Dellinger, being duly sworn, declare and state:
 3                                   INTRODUCTION
 4         1.     This affidavit supports an application to search the following
 5   Facebook account associated with Mario Orta ("ORTA"):
 6                a.    "Bart Mario" Facebook Account ID # 100032410606683
 7   ("Target Account") as more particularly described in Attachment A, incorporated
 8   h erem.
          .
 9
           2.     Based on the information below, I have probable cause to believe that
1
 O the Target Account described in Attachment A constitutes evidence, and
11
   instrumentalities of violations of federal criminal law, namely, Title 21, United
12
   States Code, Section 841 & 846, Possession of a Controlled Substance with Intent
13




19
     enforcement personnel who are experienced in the area of drug trafficking, and the
20
21   opinions stated below are shared by them. Further, I have personal knowledge of

22   the following facts or have had them related to me by persons mentioned in this

23   affidavit, or have reviewed reports created by them. Because this affidavit is made
24   for the limited purpose of obtaining a search warrant for the Target Account, it
25   does not contain all of the information known by me or other federal agents
26   regarding this investigation, but only contains those facts believed to be necessary
27   to establish probable cause. Dates and times are approximate.
28
                                           Page 1
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 1                            EXPERIENCE AND TRAINING
 2          5.      I am a peace officer in the State of California and have been since
 3   February 2017. I am currently employed as a Detective for the Brawley Police
 4   Department and assigned as a Task Force Officer (TFO) with the United States
 5   Department of Homeland Security (DHS), Immigration and Customs Enforcement
 6   (ICE) Homeland Security Investigations (HSI) Assistant Special Agent in Charge
 7   (ASAC), Calexico, California Imperial Valley Border Enforcement Security Task
 8
     Force (IV-BEST). This group is a multi-agency task force in Imperial, California
 9
     that focuses on the organized trafficking of narcotics through and along the
10
     Southwest Border. My primary duties involve the investigation of narcotics-related
11
     violations of Title 21 of the United States Code and the California Health and
12
     Safety Code.
13
            6.      I have participated in and conducted investigations of violations of
14
     various State and Federal criminal laws, including distribution of controlled
15
     substances, use of a communication facilities to commit narcotics offenses,
16
     importation of controlled substances, conspiracy to import, possess and distribute
17
     controlled substances, and money laundering, all in violation of Title 21 and Title
18
     18 of the United States Code and various California Health and Safety Code and
19
     California Penal Code sections. These investigations resulted in arrests of
20
     individuals who have imported, smuggled, received and distributed controlled
21
22   substances, including cocaine, marijuana, heroin, and methamphetamine, and the

23   arrest of individuals who have laundered proceeds emanating from those illegal

24   activities.
25          7.      These investigations often resulted in seizures of illegal drugs and
26   proceeds of the distribution of those illegal drugs. Through these investigations
27   and my training, I have become familiar with the operations of illegal international
28
                                            Page 2
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 1   Drug Trafficking Organizations (DTOs) in various parts of the world, including
 2   Mexico.
 3         8.     I have conducted investigations concerning the identification of co-
 4   conspirators through the use of social media, telephone records and bills, financial
 5   records, drug ledgers, photographs, and other documents. I have also participated
 6   in the debriefings of many of those individuals arrested that later cooperated with
 7   the government.
 8
           9.     Based on my experience, I am familiar with the methods used in
 9
     narcotics trafficking operations and the trafficking patterns employed by narcotics
10
     organizations. I have also spoken with agents, as well as other law enforcement
11
     officers about their experiences, and the results of their investigations and
12
     interviews. I have become knowledgeable about the methods and modes of
13
     narcotics operations and the language and patterns of narcotics abuse and
14
     trafficking. I have become familiar with the methods of operation typically used by
15
     narcotics traffickers and distributors. I know that narcotics traffickers and
16
     distributors often use various residences, dwellings, storage units, and other
17
     structures to store and conceal their narcotics for the purpose of future distribution.
18
     Additionally, I also know narcotics traffickers and distributors store and conceal
19
     narcotics in locations separate from their immediate dwelling to avoid direct
20
     possession and thwart law enforcement efforts.
21
           10.    In my role investigating DTOs, I have examined many Facebook
22
23   profile pages, and I have learned that DTOs often use social media sites to

24   communicate in an effort to bypass law enforcements attempts to uncover their

25   criminal activity. Based on my training, experience, and communications with

26   other law enforcement officers, I have learned specific techniques to identify
27   suspects and associates even when they use fictitious names or aliases on social
28
                                             Page 3
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 1   media sites.
 2                                     BACKGROUND
 3         11.      Facebook is a corporation headquartered in Menlo Park, California.
 4   Facebook owns and operates a free-access social networking website of the same
 5   name that can be accessed at http://www.facebook.com. Facebook allows its users
 6   to establish accounts with Facebook, and users can then use their accounts to share
 7   written news, photographs, videos, and other information with other Facebook
 8
     users, and sometimes with the general public.
 9
           12.      Facebook asks users to provide basic contact and personal identifying
10
     information to Facebook, either during the registration process or thereafter. This
11
     information may include the user's full name, birth date, gender, contact e-mail
12
     addresses, Facebook passwords, Facebook security questions and answers (for
13
     password retrieval), physical address (including city, state, and zip code),
14
     telephone numbers, screen names, websites, and other personal identifiers.
15
     Facebook also assigns a user identification number to each account.
16
           13.      Facebook users may join one or more groups or networks to connect
17
     and interact with other users who are members of the same group or network.
18
     Facebook assigns a group identification number to each group. A Facebook user
19
     can also connect directly with individual Facebook users by sending each user a
20
     "Friend Request." If the recipient of a "Friend Request" accepts the request, then
21
22   the two users will become "Friends" for purposes of Facebook and can exchange

23   communications or view information about each other.         Each Facebook user's

24   account includes a list of that user's "Friends" and a "News Feed," which

25   highlights information about the user's "Friends," such as profile changes,

26   upcoming events, and birthdays.
27         14.      Facebook users can select different levels of privacy for the
28
                                            Page4
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 1 communications and information associated with their Facebook accounts. By
 2 adjusting these privacy settings, a Facebook user can make information available
 3   only to himself or herself, to particular Facebook users, or to anyone with access to
 4   the Internet, including people who are not Facebook users. A Facebook user can
 5   also create "lists" of Face book friends to facilitate the application of these privacy
 6   settings.    Facebook accounts also include other account settings that users can
 7   adjust to control, for example, the types of notifications they receive from
 8
     Facebook.
 9
            15.     Facebook users can create profiles that include photographs, lists of
10
     personal interests, and other information. Facebook users can also post "status"
11
     updates about their whereabouts and actions, as well as links to videos,
12
     photographs, articles, and other items available elsewhere on the Internet.
13
     Facebook users can also post information about upcoming "events," such as social
14
     occasions, by listing the event's time, location, host, and guest list. In addition,
15
     Facebook users can "check in" to particular locations or add their geographic
16
     locations to their Facebook posts, thereby revealing their geographic locations at
17
     particular dates and times. A particular user's profile page also includes a "Wall,"
18
     which is a space where the user and his or her "Friends" can post messages,
19
     attachments, and links that will typically be visible to anyone who can view the
20
     user's profile.
21
            16.     Facebook allows users to upload photos and videos, which may
22
23   include any metadata such as location that the user transmitted when s/he uploaded

24   the photo or video. It also provides users the ability to "tag" (i.e., label) other

25   Facebook users in a photo or video. When a user is tagged in a photo or video, he

26   or she receives a notification of the tag and a link to see the photo or video. For
27   Facebook's purposes, the photos and videos associated with a user's account will
28
                                             Page 5
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 1   include all photos and videos uploaded by that user that have not been deleted, as
 2   well as all photos and videos uploaded by any user that have that user tagged in
 3   them.
 4           17.   Facebook users can exchange private messages on Facebook with
 5   other users. These messages, which are similar to e-mail messages, are sent to the
 6   recipient's "Inbox" on Facebook, which also stores copies of messages sent by the
 7   recipient, as well as other information. Facebook users can also post comments on
 8
     the Facebook profiles of other users or on their own profiles; such comments are
 9
     typically associated with a specific posting or item on the profile. In addition,
10
     Facebook has a Chat feature that allows users to send and receive instant messages
11
     through Facebook. These chat communications are stored in the chat history for
12
     the account. Facebook also has a Video Calling feature, and although Facebook
13
     does not record the calls themselves, it does keep records of the date of each call.
14
             18.   Each Facebook account has an activity log, which is a list of the user's
15
     posts and other Facebook activities from the inception of the account to the
16
     present. The activity log includes stories and photos that the user has been tagged
17
     in, as well as connections made through the account, such as "liking" a Facebook
18
     page or adding someone as a friend. The activity log is visible to the user but
19
     cannot be viewed by people who visit the user's Facebook page.
20
             19.   Facebook also retains Internet Protocol ("IP") logs for a given user ID
21
22   or IP address. These logs may contain information about the actions taken by the

23   user ID or IP address on Facebook, including information about the type of action,
24   the date and time of the action, and the user ID and IP address associated with the
25   action. For example, if a user views a Facebook profile, that user's IP log would
26   reflect the fact that the user viewed the profile, and would show when and from
27   what IP address the user did so.
28
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 1         20.    Social networking providers like Facebook typically retain additional
 2   information about their users' accounts, such as information about the length of
 3   service (including start date), the types of service utilized, and the means and
 4   source of any payments associated with the service (including any credit card or
 5   bank account number). In some cases, Facebook users may communicate directly
 6   with Facebook about issues relating to their accounts, such as technical problems,
 7   billing inquiries, or complaints from other users. Social networking providers like
 8   Facebook typically retain records about such communications, including records of
 9
     contacts between the user and the provider's support services, as well as records of
10
     any actions taken by the provider or user as a result of the communications.
11
           21.   As explained herein, information stored in connection with a
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     Facebook account may provide crucial evidence of the "who, what, why, when,
13
     where, and how" of the criminal conduct under investigation, thus enabling the
14
     United States to establish and prove each element or alternatively, to exclude the
15
     innocent from further suspicion. In my training and experience, a Facebook user's
16
     "Neoprint," IP log, stored electronic communications, and other data retained by
17
     Facebook can indicate who has used or controlled the Facebook account. This
18
     "user attribution" evidence is analogous to the search for "indicia of occupancy"
19
     while executing a search warrant at a residence.      For example, profile contact
20
     information, private messaging logs, status updates, and tagged photos (and the
21
22   data associated with the foregoing, such as date and time) may be evidence of who

23   used or controlled the Facebook account at a relevant time. Further, Facebook

24   account activity can show how and when the account was accessed or used. For

25   example, as described herein, Facebook logs the Internet Protocol (IP) addresses

26   from which users access their accounts along with the time and date.            By

27   determining the physical location associated with the logged IP addresses,
28
                                           Page 7
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 1   investigators can understand the chronological and geographic context of the
 2   account access and use relating to the crime under investigation. Such information
 3   allows investigators to understand the geographic and chronological context of
 4   Facebook access, use, and events relating to the crime under investigation.
 5   Additionally, Facebook builds geo-location into some of its services. Geo-location
 6   allows, for example, users to "tag" their location in posts and Facebook "friends"
 7   to locate each other. This geographic and timeline information may tend to either
 8
     inculpate or exculpate the Facebook account owner.        Last, Facebook account
 9
     activity may provide relevant insight into the Facebook account owner's state of
10
     mind as it relates to the offense under investigation. For example, information on
11
     the Facebook account may indicate the owner's motive and intent to commit a
12
     crime (e.g., information indicating a plan to commit a crime), or consciousness of
13
     guilt (e.g., deleting account information in an effort to conceal evidence from law
14
     enforcement).
15
           22.   Therefore, the computers of Facebook are likely to contain all the
16
     material described above, including stored electronic communications and
17
     information concerning subscribers and their use of Facebook, such as account
18
     access information, transaction information, and other account information.
19
                      FACTS SUPPORTING PROBABLE CAUSE
20
           23.   On January 26, 2019, while using an undercover (UC) Facebook
21
22   account, I observed Target Account's Facebook profile and observed that ORTA

23   posted a story with a photograph of a glass water bong used for smoking
24   methamphetamine. Over the photograph, ORTA posted "last chance to ... Buy a
25   sack and u could win me .. Raffle will be on Wednesday." Based on my training
26   and experience, I interpreted ORTA's post to refer to selling methamphetamine or
27   some other federally controlled substance.
28
                                           Page 8
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 1             24.   On January 29, 2019, I executed a state search warrant on a black
 2   Alcatel cellphone belonging to Laura ARREOLA. I believe that ARREOLA was
 3   ORTA's girlfriend at the time. During the search of the cell phone, I observed the
 4   following messages from January 26, 2019, between ARREOLA's cell phone and
 5   an unknown individual identified in ARREOLA's phone as Jessica:
 6       FROM         TO          MESSAGE
         Jessica      Arreola     Is this bart1
 7       Arreola      Jessica     This is Laura
         Jessica      Arreola     My bad this is jessica i was try n to get ahold of bart im try n
 8
                                  to get something ..
 9       Arreola      Jessica     Jessica?
         Arreola      Jessica     Hey it's hart
10       Arreola      Jessica     What up ...
11       Jessica      Arreola     Im try n to get something do you have
         Arreola      Jessica     Yeah how much
12       Jessica      Arreola     ? Zip
         Arreola      Jessica     Yeah
13
         Jessica      Arreola     $?
14       Arreola      Jessica     $120
         Jessica      Arreola     Ok i want one for sure but can you give me a few cuz im in
15                                the middle of something ill hit u up in like 10 or 15 mins cool
16       Arreola      Jessica     Cool

17   Through my training and experince, I know that the phrase "Zip" is slang for an
18   ounce of narcotics. I also know that the current street sales amount for one ounce
19   of methamphetamine is between $100 and $150 dollars depending on the seller and
20   purity.
21             25.   On January 29, 2019, while usmg an undercover (UC) Facebook
22   account, I observed Target Account's Facebook profile and noted that ORTA
23   posted a story with a photograph of a white iPad. In writing over the photo were
24   the words, "I PAD II RAFFEL. BYE A SACK AND U COULD WIN!! Raffel is
25   on Thursday.31." Based on my training and experience, along with ORTA's prior
26   Facebook posts, I interpreted ORTA's post to refer to selling federally controlled
27
     1
28       "Bart" is ORTA'·s nickname.
                                                  Page 9
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 1   substances and enticing additional sales by raffling off an iPad.
 2         26.    On January 29, 2019, at approximately 9:47 p.m., law enforcement
 3   officers executed a state search warrant at the Brawley Inn, Room 212. Upon
 4   entering the room, law enforcement immediately encountered ARREOLA sitting
 5   on the floor in the middle of the hotel room. Law enforcement officers also
 6   observed two Hispanic male inside the room. One Hispanic male, later identified
 7   as ORTA, was running into the room from the bathroom. Law enforcement
 8   detained and handcuffed all occupants.
 9
           27.    Before searching the hotel room, law enforcement officers scanned it
10
     with a Human and Narcotics Detector Dog (HNDD). The HNDD alerted near the
11
     bathroom and the bed. In the bathroom, law enforcement found five plastic bags of
12
     a white crystalline substance, which appeared to be methamphetamine, and one
13
     plastic bag with a dark tar-like substance, which appeared to be heroin. The bags
14
     were found in the toilet, along with feces. The toilet appeared to be clogged, which
15
     prevented the narcotics from being flushed down the toilet.
16
           28.    Officers also found three plastic bags containing a dark, tar-like
17
     substance, which appeared to be heroin in a coffee filter holder on the bathroom
18
     counter.
19
           29.    Additionally, officers located a blue backpack tucked between the
20
     wall and a nightstand in the main room. Inside the backpack, officers found three
21
22 plastic bags containing a white crystalline substance, believed to be
23   methamphetamine.

24         30.    The eight bags of methamphetamine weighed approximately 1.35

25   kilograms (3.64 pounds), and the four packages of heroin weighed approximately
26   12.1 grams of heroin. ARREOLA and ORTA were placed under arrest and charged
27   in a federal criminal complaint. See 19-cr-676-BAS. The other Hispanic male was
28
                                           Page 10
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 1   arrested, but charges were not filed against him.
 2         31.    In my training and experience, I have learned that individuals engaged
 3   in drug sales often use their social media for months, if not years, to conspire, plan
 4   and coordinate their criminal activities and that social media platforms retain
 5   evidence of their crimes such as communications, photographs, videos, contact
 6   information of co-conspirators, location data, travel arrangements, and financial
 7   data that evidence criminal activities. In particular, I know that Facebook accounts
 8   of individuals involved in drug trafficking often contain:
 9
                  a.     Communications, records, posts, and attachments tending to
10
     discuss, depict, or establish the possession, purchase, sales, or receipt of narcotics;
11
                  b.     Communications, records, posts, and attachments tending to
12
     identify individuals involved in narcotics activities;
13
                  c.     Communications, records, posts, and attachments tending to
14
     discuss, depict, or establish the ownership, possession, dominion and control of the
15
     Target Account; and
16
                  d.     Communications, records, and attachments that provide context
17
     to any communications described above, such as electronic mail sent or received in
18
     temporal proximity to any relevant electronic mail and any electronic mail tending
19
     to identify users of the Target Account.
20
           32.    Based upon my experience and investigation in this case, I believe
21
22 that ORTA and ARREOLA, as well as other persons as yet unknown, were
23   involved in an on-going conspiracy to distribute methamphetamine, heroin, or

24   some other prohibited narcotics. Further, based on my investigation of drug

25   distribution conspiracies, telephone contact with drug distribution co-conspirators

26   can begin months or weeks before drugs are distributed to a consumer.
27   Communications can then continue through the time a co-conspirator is arrested,
28
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 1   particularly if a co-conspirator is not aware of the arrest. I am requesting records
 2   from December 29, 2019 up to and including January 30, 2019, because I believe I
 3   will discover further evidence of ORTA's and ARREOLA's possession and
 4   trafficking of narcotics.
 5                         PRIOR ATTEMPTS TO OBTAIN DATA
 6         33.     The United States has viewed and downloaded posts, photographs,
 7   and information from public portions of the Target Account, but it has not sought
 8
     a warrant to search the Target Account and has not yet seen the entirety of the
 9
     Target Account, including its Facebook Messenger exchanges.
10
                          GENUINE RISKS OF DESTRUCTION
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           34.     Based on my experience and training, and the experience and training
12
     of other agents with whom I have communicated, electronically stored data can be
13
     permanently deleted or modified by users possessing basic computer skills.
14
         PROCEDURES FOR SEARCHING ELECTRONICALLY STORED
15
                                       INFORMATION
16
           3 5.    Federal agents and investigative support personnel are trained and
17
     experienced in identifying communications relevant to the crimes under
18
     investigation. The personnel of Facebook are not. It would be inappropriate and
19
     impractical for federal agents to search the vast computer network of Facebook for
20
21   the relevant accounts and then to analyze the contents of those accounts on the

22   premises of Facebook. The impact on Facebook's business would be disruptive

23   and severe.
24         36.     Therefore, I request authority to seize all content, including electronic
25   mail and attachments,        stored instant messages,       stored voice messages,
26   photographs, and any other content from the Facebook account, as described in
27   Attachment B. In order to accomplish the objective of the search warrant with a
28
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 1   minimum of interference with the business activities of Facebook], to protect the
 2   privacy ofFacebook subscribers whose accounts are not authorized to be searched,
 3   and to effectively pursue this investigation, HSI seeks authorization to allow
 4   Facebook to make a digital copy of the entire contents of the account(s) subject to
 5   seizure. That copy will be provided to me or to any authorized federal agent. The
 6   copy will be imaged and the image will then be analyzed to identify
 7   communications and other electronic records subject to seizure pursuant to
 8
     Attachment B. Relevant electronic records will be copied to separate media. The
 9
     original media will be sealed and maintained to establish authenticity, if necessary.
10
           37.    Analyzing the data to be provided by Facebook may require special
11
     technical skills, equipment, and software. It may also be very time-consuming.
12
     Searching by keywords, for example, often yields many thousands of "hits," each
13
     of which must be reviewed in its context by the examiner to determine whether the
14
     data is within the scope of the warrant. Merely finding a relevant "hit" does not
15
     end the review process. Keyword searches do not capture misspelled words, reveal
16
     the use of coded language, or account for slang. Keyword searches are further
17
     limited when electronic records are in or use foreign languages. Certain file
18
     formats also do not lend themselves to keyword searches. Keywords search text.
19
     Many common electronic mail, database and spreadsheet applications, which files
20
     may have been attached to electronic mail, do not store data as searchable text.
21
22   Instead, such data is saved in a proprietary non-text format. And, as the volume of

23   storage allotted by service providers increases, the time it takes to properly analyze

24   recovered data increases dramatically. Facebook does not always organize the

25   electronic files they provide chronologically, which makes review even more time

26   consuming and may also require the examiner to review each page or record for
27   responsive material.
28
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 1            3 8.   Based on the foregoing, searching the recovered data for the
 2 information subject to seizure pursuant to this warrant may require a range of data
 3   analysis techniques and may take weeks or even months. Keywords need to be
 4   modified continuously based upon the results obtained and, depending on the
 5   organization, format, and language of the records provided by the Facebook,
 6   examiners may need to review each record to determine if it is responsive to
 7   Attachment B. The personnel conducting the examination will complete the
 8
     analysis within ninety (90) days of receipt of the data from the service provider,
 9
     absent further application to this court.
10
             39.     Based upon my experience and training, and the expenence and
11
     training of other agents with whom I have communicated, it is necessary to review
12
     and seize all electronic mails that identify any users of the subject account( s) and
13
     any electronic mails sent or received in temporal proximity to incriminating
14
     electronic mails that provide context to the incriminating mails.
15
             40.     All forensic analysis of the imaged data will employ search protocols
16
     directed exclusively to the identification and extraction of data within the scope of
17
     this warrant.
18
19   II
20   II
21   II
22   II

23   II
24   II
25   II
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27   II
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 1                                      CONCLUSION
 2             41.   Based on the foregoing, there is probable cause to believe that the
 3   items identified in Attachment B have been used in the commission of a crime and
 4   constitute evidence, fruits, and instrumentalities of violations of Title 21, United
 5   States Code, Sections 841 and 846 will be found at the premises to be searched as
 6   provided in Attachment A.
 7
               I swear the foregoing is true and correct to the best of my knowledge and
 8
     belief.
 9
10
11                                                   mg er
                                               ask Force Officer, HSI
12
13
               Subscribed and sworn to before me this ;;;r-fay of April, 2019.
14
15
16
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18
                                           ~oUnited States Magistrate Judge
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 1                                 ATTACHMENT A

 2         This warrant applies to information following Facebook account associated
 3   with Mario Orta:

 4         "Bart Mario," Facebook Account ID # 100032410606683 ("Target
 5   Account")
 6
     that is stored at premises owned, maintained, controlled, or operated by Facebook
 7
     LLC, Security Department- Custodian of Records, located at 1601 Willow Road,
 8
     Menlo Park, CA 94025.
 9
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                                         Page 16
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 1                                    ATTACHMENT B

 2
     I.      Service of Warrant
 3
             The officer executing the warrant shall permit Face book, as custodian of the
 4
     computer files described in Section II below, to locate the files relevant to
 5
     Attachment A, incorporated herein, and copy them onto removable electronic
 6
     storage media and deliver the same to the officer or agent in the manner set forth in
 7
     the Affidavit, incorporated herein.
 8
 9   II.     Information to be disclosed by Facebook
10           To the extent that the information described in Attachment A is within the
11   possession, custody, or control of Facebook Inc. ("Facebook"), including any
12   messages, records, files, logs, or information that have been deleted but are still
13   available to Facebook, or have been preserved pursuant to a request made under 18
14   U.S.C. § 2703(f), Facebook is required to disclose the following information to the
15
     government for the account listed in Attachment A:
16
17           a. All contact and personal identifying information, including full name,
18              user identification number, birth date, gender, contact e-mail addresses,
19              Facebook passwords, Facebook security questions and answers, physical
20              address (including city, state, and zip code), telephone numbers, screen

21              names, websites, and other personal identifiers.

22
             b. All activity logs for the account and all other documents showing the
23
                user's posts and other Facebook activities;
24
25
             c. All photos and videos uploaded by that user ID and all photos and videos
26              uploaded by any user that have that user tagged in them;
27
28
                                            Page 17
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 1         d. All profile information; News Feed information; status updates; links to
 2              videos, photographs, articles, and other items; Notes; Wall postings;
 3              friend lists, including the friends' Facebook user identification numbers;
 4              groups and networks of which the user is a member, including the
 5              groups' Facebook group identification numbers; future and past event
 6              postings; comments; tags; and information about the user's access and

 7              use ofFacebook applications;

 8
           e. All other records of communications and messages made or received by
 9
                the user, including all private messages, chat history, video calling
10
                history, and pending "Friend" requests;
11
12         f. All "check ins" and other location information;
13.
14         g. All IP logs, including all records of the IP addresses that logged into the
15              account;
16
           h. All past and present lists of friends created by the account;
17
18         i.   The types of service utilized by the user;
19
           J. The length of service (including start date) and the means and source of
20
                any payments associated with the service (including any credit card or
21
                bank account number); and
22
23         k. All records pertaining to communications between Facebook and any
24              person regarding the user or the user's Facebook account, including
25              contacts with support services and records of actions taken.
26
27 II
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                                             Page 18
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 1   III.   Information to be seized by the government

 2
            The search of the data supplied by Facebook pursuant to this warrant will be
 3
     conducted by HSI as provided in the "Procedures For Electronically Stored
 4
     Information" of the Affidavit submitted in support of this search warrant and will
 5
     be limited to the time periods of December 29, 2018, up to and including
 6
     January 30, 2019.
 7
            The search and seizure of the data supplied by Facebook pursuant to this
 8
     warrant will also be limited to:
 9
               a. Communications, records, posts, and attachments tending to discuss,
10
                  depict, or establish the possession, purchase, sales, or receipt of
11
12                narcotics;

13             b. Communications, records, posts, and attachments tending to identify

14                ORTA, ARREOLA, and any other co-conspirators involved in the

15                activities in III( a);

16
               c. Communications, records, posts, and attachments tending to discuss,
17
                  depict, or establish the ownership, possession, dominion and control
18
                  of the Target Account; and
19
20             d. Communications, records, and attachments that provide context to any

21                communications described above, such as electronic mail sent or

22                received in temporal proximity to any relevant electronic mail and any
23                electronic mail tending to identify users of the subject accounts;
24
     which are evidence of violations of Title 21, United States Code, Sections 841 and
25
     846, Possession of a Controlled Substance with Intent to Distribute and conspiracy
26
     to commit the same.
27
28
                                           Page 19
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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN ~DISTRICT OF CALIFORNIA

           UNITED STATES OF AMERICA                                  ORDER OF DETENTION PENDING TRIAL
                      V.

                Rosendo PLACENCIA-Abija                               Case Number: _1_9_M_J--=q_2~b_/"/_ _ _ _ _ _ __

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing was held on4/23/2019. Defendant was present
and was represented by counsel. I conclude by a preponderance of the evidence the defendant is a flight risk and order the detention
of the defendant pending trial in this case.

                                                         FINDINGS OF FACT
I findpy a preponderance of the evidence that:
    II( The defendant is not a citizen of the United States or lawfully admitted for permanent residence. The defendant, at time the
       of the charged offense, was in the United States illegally.
  D    The defendant has no significant contacts in the United States.
  D    The defendant has no resources in the United States from which he/she might make a bond reasonably calculated to
    _....assure his/her future appearance.                                       J_    ~     f\               l                                 '
   ~ Thedefendanthasapriorcri~ryand/ori~ory. l»rl/l'ft...vi J-w J--t--"'"'/ ls~b 11f-t1V<,.                                               tA   >-oz.
   ~The defendant lives and/or works in Mexico.            ~                        S- ?,,..,.,.....   /vpv--f>   .n~   .-,·i-   u. S..
  o    The defendant is an amnesty applicant but does not have substantial ties in the United States and has substantial ties to
       Mexico.
  D    There is a record of prior failure to appear in court as ordered.
  D    The defendant attempted to evade law enforcement contact by fleeing or concealing him or herself from law enforcement.
  o    The defendant is facing a maximum of ___ months imprisonment.
  D



       The Court incorporates by reference the material findings of the Pretrial Services Agency which were reviewed by the Court
at the time of the hearing in this matter, except as noted in the record.

                                                       CONCLUSIONS OF LAW
      1.   There is a serious risk that the defendant will flee.
      2.   No condition or combination of conditions will reasonably assure the appearance of the defendant as required.

                                              DIRECTIONS REGARDING DETENTION
       The defendant is committed to the custody of the Attorney General or his/her designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court
of the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceedings.

                                             APPEALS AND THIRD PARTY RELEASE
       IT IS ORDERED that should an appeal of this detention order be filed with the District Court, it is counsel's responsibility to
deliver a copy of the motion for review/reconsideration to Pretrial Services at least one day prior to the hearing set before the District
Court.

       IT IS FURTHER ORDERED that if a release to a third party is to be considered, it is counsel's responsibility to notify
Pretrial Services sufficirly in advance of the hearing befo e the Distnct Court to allow Pretrial Services an opportunity to
interview and investigat the potenF ~ Erf}ustodian.                                                       ,

 Dated: 4/23/2019        .
                                     APR 2 3 2019
